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      Attorney for Defendants
 5    CARSON CITY, JASON BUENO, SEAN PALAMAR, TYSON LEAGUE,
      JASON WOODBURY, and KENNETH FURLONG
 6
                               UNITED STATES DISTRICT COURT
 7
                                   DISTRICT OF NEVADA
 8
 9
      DREW J. RIBAR,
10
                 Plaintiff,
11                                              Case No.     3:24-cv-00103-ART-CLB
      vs.
12
      STATE OF NEVADA EX. REL. NEVADA    DEMAND FOR JURY TRIAL
13    DEPARTMENT OF CORRECTIONS,
      CARSON CITY AND ITS SHERIFFS
14    OFFICE, CARSON CITY DISTRICT
      ATTORNEYS OFFICE, CARSON CITY
15    MANAGERS OFFICE, FERNANDEIS
      FRAZAIER IN HIS OFFICIAL CAPACITY
16    AS WARDEN OF NORTHERN NEVADA
      CORRECTIONAL, AARON RYDER IN HIS
17    OFFICIAL CAPACITY AS AN OFFICER OF
      NEVADA DEPARTMENT OF
18    CORRECTIONS, ROBERT SMITH IN HIS
      OFFICIAL CAPACITY AS AN OFFICER OF
19    NEVADA DEPARTMENT OF
      CORRECTIONS, JASON BUENO IN HIS
20    OFFICIAL CAPACITY AS AN OFFICER OF
      CARSON CITY SHERIFF, SEAN
21    PALAMAR RYDER IN HIS OFFICIAL
      CAPACITY AS AN OFFICER OF CARSON
22    CITY SHERIFF, TYSON DARIN LEAGUE
      RYDER IN HIS OFFICIAL CAPACITY AS
23    AN OFFICER OF CARSON CITY DISTRICT
      ATTORNEY, JAMES DZURENDA
24    (DIRECTOR NEVADA DEPARTMENT OF
      CORRECTIONS), JASON D. WOODBURY
25    (CARSON CITY DISTRICT ATTORNEY),
      KENNETH T. FURLONG IN HIS
26    CAPACITY AS SHERIFF CARSON CITY,
      NV, OFFICER/DEPUTY/J. DOE 1-99,
27
28               Defendants.


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 1
             COME NOW Defendants CARSON CITY, JASON BUENO, SEAN PALAMAR,
 2
      TYSON LEAGUE, JASON WOODBURY, and KENNETH FURLONG, by and through their
 3
      attorneys Thorndal Armstrong, PC, and hereby demand a jury trial of all the triable issues in the
 4
      above-entitled matter.
 5
             DATED this 12th day of March, 2024.
 6
                                                   THORNDAL ARMSTRONG, PC
 7
 8                                                 By:     /s/ Katherine Parks
                                                          KATHERINE F. PARKS, ESQ.
 9                                                        Nevada Bar No. 6227
                                                          6590 S. McCarran Blvd., Suite B
10                                                        Reno, Nevada 89509
                                                          Attorney for Defendants
11                                                        CARSON CITY, JASON BUENO, SEAN
                                                          PALAMAR, TYSON LEAGUE, JASON
12                                                        WOODBURY, and KENNETH FURLONG
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 1                                    CERTIFICATE OF SERVICE
 2            Pursuant to FRCP 5(b), I certify that I am an employee of Thorndal Armstrong, PC, and
 3    that on this date I caused the foregoing DEMAND FOR JURY TRIAL to be served on all parties
 4    to this action by:
 5      X     placing an original or true copy thereof in a sealed, postage prepaid, envelope in the
 6    United States mail at Reno, Nevada.
 7    _____ United States District Court CM/ECF Electronic Filing Process
 8    _____ hand delivery
 9    _____ electronic means (fax, electronic mail, etc.)
10    _____ Federal Express/UPS or other overnight delivery
11    fully addressed as follows:
12                                            Drew J. Ribar
                                            3480 Pershing Ln
13                                       Washoe Valley, NV 89704
                                             Pro Se Plaintiff
14
15
              DATED this 12th day of March, 2024.
16
17
                                                                  /s/ Laura Bautista
18                                                          An employee of Thorndal Armstrong, PC
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